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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA


  TERRANCE GUIDRY,                                          CIVIL ACTION NO.:
                                                            6:19-cv-00997-MJJ-CBW
          Plaintiff,

  v.                                                        JUDGE: Michael J. Juneau

  PENN CREDIT CORPORATION,                                  MAGISTRATE JUDGE:
                                                            Carol B. Whitehurst
          Defendant.



                       ORDER TO DISMISS AND TRANSFER CASE
        Considering the Motion to Dismiss and/or to Transfer Case to the Middle District of Florida
 filed by Defendant, Penn Credit Corporation, the certificate of service filed herein, and the
 consents of the parties:
        IT IS ORDERED that the Motion is hereby granted, dismissing this proceeding and
 transferring the same to the United States District Court for the Middle District of Florida to be
 consolidated with Gurzi v. Penn Credit Corporation, Case No 6:19-cv-00823 (MDFL filed
 4/30/2019).

 THUS DONE AND SIGNED at Lafayette, Louisiana, this 3rd day of October, 2019.




                                                     ___________________________________
                                                     U.S. Magistrate Judge
